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     Attorneys for Defendant RAMON DESAGE
10
11
                                 UNITED STATES DISTRICT COURT
12
                                        DISTRICT OF NEVADA
13
14
     UNITED STATES OF AMERICA,           )
15                                       )               Case No.: 2:13-cr-00039-JAD-VCF
           Plaintiff,                    )
16                                       )
17                 vs.                   )                   ORDER
                                         )
18   RAMON DESAGE,                       )
                                         )
19         Defendant.                    )
20   ____________________________________)

21               UNOPPOSED MOTION TO TRAVEL AND PROPOSED ORDER
22          Comes now, Defendant Ramon Desage, by and through his counsel, Richard A. Wright,
23
     Esquire and Richard B. Herman, Esquire, and hereby moves this Court for permission to travel from
24
     Las Vegas, Nevada to New York City on May 7, 2015 and returning on May 11, 2015. Defendant
25
26   will be traveling with his counsel, Richard B. Herman, Esquire, and is scheduled to meet with

27   Attorney Robert S. Fink, Esquire on May 8, 2015. In addition, on Saturday May 9, 2015, Mr.
28   Desage has been invited to attend the Ellis Island Medal of Honor Ceremony which takes place on
         Case
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 1   Ellis Island, New York. While in New York, Mr. Desage, will be staying at the St. Regis Hotel, 2
 2
     East 55th Street, New York, New York.
 3
            On April 15, 2015, Richard B. Herman, Counsel for Mr. Desage, personally discussed this
 4
     request with Pre-Trial Services Officer Zack Bowen, who advises he consents to this travel request.
 5
 6   Mr. Herman will provided Officer Bowen with Mr. Desage’s travel itinerary, hotel information and

 7   list of events. Mr. Desage will continue with electronic monitoring and will abide by all other bail
 8
     conditions. Upon his return to Las Vegas on May 11, 2015, Mr. Desage will give a courtesy call to
 9
     Officer Bowen.
10
            Counsel for Mr. Desage has discussed this request with Assistant United States Attorney
11
12   Gregory Damm, who has no opposition to it.

13          DATED this 15th day of April 2015.
14
                                                   Respectfully submitted:
15
16                                                 BY          /s/ Richard A. Wright
17                                                   RICHARD A. WRIGHT, ESQUIRE
                                                     300 S. Fourth Street
18                                                   Suite 701
                                                     Las Vegas, NV 89101
19                                                  Telephone: (702) 382-4004
20                                                  Attorney for Defendant, Ramon Desage

21
                                                   BY          /s/ Richard B. Herman
22                                                   RICHARD B. HERMAN, ESQUIRE
23                                                   New York Bar No. 1898758
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24                                                  9th Floor
                                                     New York, NY 10022
25                                                  Telephone: (212) 759-6300
26                                                  Attorney for Defendant, Ramon Desage

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28


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         Case
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 1
 2
                                               ORDER
 3
            This matter having come before the Court on the unopposed motion of Defendant Ramon
 4
     Desage, and good cause appearing, Defendant’s Motion for Permission to Travel to New York City
 5
 6   on May 7, 2015 and returning May 11, 2015 is GRANTED.

 7          Dated: April 16, 2015.
 8                                              __________________________________________
                                                       _____
                                                          _ _____
                                                               ____
                                                                  _______________
                                                                               _ __
                                                HONORABLE
                                                       ABL   JENNIFER
                                                          LE JENNNIFE
                                                                    F R A.A DODORSEY
                                                                               ORS
 9
10
11   Respectfully submitted by:

12   WRIGHT STANISH & WINCKLER

13       /s/ Richard A. Wright
14   RICHARD A. WRIGHT

15
     RICHARD B. HERMAN, P.C.
16
17      /s/ Richard B. Herman
     RICHARD B. HERMAN
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